                                        UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF NORTH CAROLINA
                                            CHARLOTTE DIVISION
                                                3:21-cv-94-MOC

               IN RE: V.R. KING CONSTR., LLC,         )
               V.R. KING CONSTRUCTION,                )
                                                      )
                                 Appellant,           )
                           vs.                        )
                                                      )                        ORDER
               Y2 YOGA CONSTRUCTION, LLC, ET AL., )
                                                      )
                                                      )
                                 Appellees.           )
               _______________________________________)

                        THIS MATTER is before the Court on a Motion for Voluntary Dismissal of Appeal,

               filed by Appellant, filed pursuant to Federal Rules of Civil Procedure 42(b). (Doc. No. 9). The

               Court GRANTS the motion. Appellant’s appeal is dismissed without prejudice.

                        IT IS SO ORDERED.


Signed: July 27, 2021




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